 Case: 3:08-cr-00116-WHR Doc #: 386 Filed: 12/02/13 Page: 1 of 4 PAGEID #: 2118




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                               Plaintiff,            :       Case No. 3:08-cr-116
                                                             Also Case No 3:13-cv-403

                                                             District Judge Walter Herbert Rice
       -   vs   -                                            Magistrate Judge Michael R. Merz

KENNETH VAUGHN,


                               Defendant.            :



                      REPORT AND RECOMMENDATIONS


       This case is before the Court on Defendant Kenneth Vaughn’s Motion to Vacate under 28

U.S.C. § 2255 (Doc. No. 385). By General Order of Assignment of Reference, the Motion to

Vacate has been referred to the undersigned Magistrate Judge. The Motion is before the Court

for initial review pursuant to Rule 4(b) of the Rules Governing ' 2255 Cases which provides:

                The judge who receives the motion must promptly examine it. If it
                plainly appears from the motion, any attached exhibits, and the
                record of prior proceedings that the moving party is not entitled to
                relief, the judge must dismiss the motion and direct the clerk to
                notify the moving party. If the motion is not dismissed, the judge
                must order the United States to file an answer, motion, or other
                response within a fixed time, or take other action the judge may
                order.




                                                 1
 Case: 3:08-cr-00116-WHR Doc #: 386 Filed: 12/02/13 Page: 2 of 4 PAGEID #: 2119




       The Judgment of Conviction was entered in this case on September 24, 2009 (Doc. No.

313). Vaughn took no appeal, so the judgment became final on the last day on which he could

have appealed. Under Fed. R. App. P. 4(b)(1)(A), that date was fourteen days after September

24, 2009, or October 8, 2009. As amended by the Antiterrorism and Effective Death Penalty

Act in 1996, 28 U.S.C. § 2255(f) provides a one-year statute of limitations for § 2255 motions

which runs from the latest of

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created
               by governmental action in violation of the Constitution or laws of
               the United States is removed, if the movant was prevented from
               making a motion by such governmental action;

               (3) the date on which the right asserted was initially recognized by
               the Supreme Court, if that right has been newly recognized by the
               Supreme Court and made retroactively applicable to cases on
               collateral review; or

               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.


       Vaughn states that his claim for relief arises under Alleyne v. United States. 570 U.S. ___,

133 S. Ct. 2151, 186 L. Ed. 2d 314 (2013). Alleyne was decided June 17, 2013, so that if

Vaughn’s claim does in fact arise under Alleyne, it was timely filed on November 25, 2013.

Alleyne held that a fact necessary to establish a defendant’s liability to a mandatory minimum

sentence was an element within the meaning the Apprendi line of cases, which means it must be

pled in the indictment and proven to a jury beyond a reasonable doubt. Alleyne overruled Harris

v. United States, 536 U.S. 545 (2002), which had held facts necessary to require a mandatory



                                                2
 Case: 3:08-cr-00116-WHR Doc #: 386 Filed: 12/02/13 Page: 3 of 4 PAGEID #: 2120




minimum sentence were not elements of the crime under Apprendi v. New Jersey, 530 U.S. 466

(2000).

          However, Vaughn does not state a claim for relief arising under Alleyne because the

United States was already in compliance with that decision in the handling of this case. The

Indictment in this case charges Vaughn in Count One with conspiring with others to distribute in

excess of fifty grams of cocaine base and in excess of one hundred grams of heroin (Indictment,

Doc. No. 31, PageID 658). Thus the Indictment complies with Alleyne. On December 16, 2008,

Vaughn entered into a Plea Agreement with the United States in which he agreed to plead guilty

to Count 1 and five other counts of the Indictment (Doc. No. 124). As part of that Plea

Agreement, Vaughn admitted the truth of an attached statement of facts which included the facts

that he and his co-conspirators sold in excess of 235 grams of crack cocaine and in excess of 100

grams of heroin. In the Plea Agreement, Vaughn acknowledged that if Judge Rice accepted his

guilty plea, he would be waiving his right to trial by jury. On the same day Judge Rice

conducted the required plea colloquy under Fed. R. Crim. P. 11 and accepted Vaughn’s guilty

plea (Minute Entry, Doc. No. 125). Although Vaughn later attempted to withdraw his plea of

guilty (Doc. No. 182) and Judge Rice held a number of hearings on the matter, Vaughn was

never granted permission to withdraw the plea and Judge Rice proceeded to sentencing on

September 23, 2009. As noted above, no appeal was taken.

          Nothing in the Apprendi lienof cases in general or in Alleyne in particular suggests that

the right to trial by jury cannot be waived or that an admission of sufficient facts to support the

mandatory minimum, made by a defendant under oath in open court in a plea colloquy, cannot

validly substitute for a finding by a jury. The § 2255 Motion, although timely, does not state a

claim for relief under 28 U.S.C. § 2255.



                                                  3
 Case: 3:08-cr-00116-WHR Doc #: 386 Filed: 12/02/13 Page: 4 of 4 PAGEID #: 2121




       If there were a violation of Alleyne, the question would be whether it applied

retroactively to cases decided before Alleyne, like this one. Whether a Supreme Court decision

applies retroactively should be decided by the district court in the first instance. Wiegand v.

United States, 380 F.3d 890, 892 (6th Cir. 2004).However, even Apprendi does not apply

retroactively to initial § 2255 motions as it is not a watershed rule of criminal procedure. Goode

v. United States, 305 F.3d 378 (6th Cir. 2002). A fortiori Alleyne, as an application of Apprendi,

does not meet the retroactivity test of Teague v. Lane, 489 U.S. 288, 296 (1989).

       It is therefore respectfully recommended that the Motion to Vacate be dismissed with

prejudice because (1) the United States complied with Alleyne in its handling of this case – the

required facts of the mandatory minimum sentence were charged in the indictment and admitted

by the Defendant and (2) in any event Alleyne does not apply retroactively to cases decided

before June 17, 2013.

December 2, 2013.

                                                               s/ Michael R. Merz
                                                              United States Magistrate Judge

                           NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).



                                                4
